     Case 3:10-cr-05016-H    Document 1566    Filed 07/24/15   PageID.6853   Page 1 of 7



1
2
3
4
5
6
7
8                            UNITED STATES DISTRICT COURT
9                       SOUTHERN DISTRICT OF CALIFORNIA
10
11   UNITED STATES OF AMERICA,               ) Case No. 10CR5016-H
                                             )
12                             Plaintiff,    )
                                             ) ORDER DENYING MOTION TO
13                      v.                   ) REDUCE SENTENCE
                                             )
                                             ) UNDER 18 U.S.C. § 3582(c)(2)
14   PHILIP JOHN CASTAGNOLA (14),            )
                                             )
15                             Defendant.    )
                                             )
16                                           )
17
18         On April 14, 2015, Defendant Philip John Castagnola (“Defendant”) filed,
19   through his previously appointed defense attorney Merle N. Schneidewind, a joint
20   motion with the concurrence of the Government to reduce his sentence under 18 U.S.C.
21   § 3582(c)(2) based on Amendment 782 to the United States Sentencing Guidelines
22   (“U.S.S.G.”) as promulgated by the United States Sentencing Commission. (Doc. No.
23   1545.)
24         On April 17, 2015, the Court issued an Order to Show Cause (“OSC”) why the
25   Count should not deny the joint motion to reduce the Defendant’s sentence based on the
26   limitation in U.S.S.G. § 1B1.10(b)(2)(A), since the Court made two departures in the
27   Defendant’s original sentence. (Doc. No. 1546.) The Court imposed a custodial
28   sentence of 87 months after departing downward one level based on the parties’ joint
                                              -1-
     Case 3:10-cr-05016-H      Document 1566        Filed 07/24/15     PageID.6854      Page 2 of 7



1    recommendation1 (Doc. Nos. 859 and 1073) and departing downward one additional
2    level under United States v. Cook, 938 F.2d 149 (9th Cir. 1991) and Koon v. United
3    States, 518 U.S. 81 (1996) for a combination of factors under U.S.S.G § 5K2.0. (See
4    generally Doc. Nos. 1123 and 1125.)
5           On April 21, 2015, the Defendant responded to the OSC. (Doc. No. 1547.) The
6    Defendant argues that that the purpose of the one-level “fast-track” departure under
7    § 5K3.1 was to “account for time served of 245 actual days in custody in a related state
8    case (SCD231394)” and that “[u]nder the sentencing guidelines § 5G1.3(b), the Court
9    may depart downward” to account for the time the Defendant served in state custody.
10   (Id. at pg. 4.) Furthermore, the Defendant asserts that “[c]ounsel has used the term ‘fast
11   track’ for the departure when in fact it was a departure under 5G1.3.” Id. The Defendant
12   did not address the Court’s additional § 5K2.0 departure under Cook and Koon.
13          In response to the Court’s OSC, the Government now opposes the motion to
14   reduce the Defendant’s sentence, arguing that “[b]ecause these departure were not
15   related to substantial assistance, then under § 1B1.10, they do not carry over to the new,
16   amended, guideline calculation” and “[t]herefore, under §1B1.10(b), Defendant is not
17   entitled to any further reductions, and the Court should deny his motion.” (Doc. No.
18   1554 at pg. 7.) The Court agrees with the Government.
19          The Court turns to the applicable Guideline language and law to evaluate the
20   motion for a sentence reduction under § 3582(c)(2). U.S.S.G. § 1B1.10(b)(1) (Nov. 1,
21   2014) provides that:
22
            In determining whether, and to what extent, a reduction in the defendant’s
23
            term of imprisonment under 18 U.S.C. § 3582(c)(2) and this policy
24          statement is warranted, the court shall determine the amended guideline
            range that would have been applicable to the defendant if the
25
            amendment(s) to the guidelines listed in subsection (d) had been in effect
26
            1
              The Defendant’s sentencing summary chart classified the downward departure as a “fast-
27
     track” departure under 5K3.1. (Doc. No. 1073.) However, the reason for the departure request was to
28   account for the time the Defendant served in state custody. (See Plea Agreement, Doc. No 710 at pg.
     9.)
                                                    -2-
     Case 3:10-cr-05016-H     Document 1566       Filed 07/24/15     PageID.6855      Page 3 of 7



1           at the time the defendant was sentenced. In making such determination, the
            court shall substitute only the amendments listed in subsection (d) for the
2
            corresponding guideline provisions that were applied when the defendant
3           was sentenced and shall leave all other guideline application decisions
            unaffected.2
4
5           Additionally, “the court shall not reduce the defendant’s term of imprisonment
6    under 18 U.S.C. § 3582(c)(2) and this policy statement to a term that is less than the
7    minimum of the amended guideline range determined under subdivision (1) of this
8    subsection.” U.S.S.G. § 1B1.10(b)(2)(A) (Nov. 1, 2014). The commentary to § 1B1.10
9    clarifies that the “[e]ligibility for consideration under 18 U.S.C. § 3582(c)(2) is
10   triggered only by an amendment listed in subsection (d) that lowers the applicable
11   guideline range (i.e., the guideline range that corresponds to the offense level and
12   criminal history category determined pursuant to §1B1.1(a), which is determined before
13   consideration of any departure provision in the Guidelines Manual or any variance).”
14   U.S.S.G. § 1B1.10 cmt. n.1(A) (Nov. 1, 2014).
15          An exception exists under U.S.S.G. § 1B1.10(b)(2)(B) (Nov. 1, 2014) if a
16   defendant was sentenced below the Guideline range pursuant to a government motion
17   reflecting a defendant’s substantial assistance under U.S.S.G. § 5K1.1 (at the time of
18   sentencing) or under Fed. R. Crim. P. 35(b) (post-sentencing).
19          In Dillon v. United States, 130 S. Ct. 2683, 2691 (2010), the Supreme Court
20   explained the limited nature of the § 3582(c)(2) proceedings and the process for ruling
21   on motions to reduce sentenced under that section.
22
            Consistent with the limited nature of §3582(c)(2) proceedings,
23
            §1B1.10(b)(2) also confines the extent of the reduction authorized. Courts
24          generally may “not reduce the defendant’s term of imprisonment under 18
            U. S. C. §3582(c)(2) . . . to a term that is less than the minimum of the
25
            amended guideline range” produced by the substitution. §1B1.10(b)(2)(A).
26          Only if the sentencing court originally imposed a term of imprisonment
27          2
            Amendment 782 to the U.S.S.G. has been added to subsection (d), making the application of
28   Amendment 782 retroactive to sentences imposed prior to its promulgation by the Sentencing
     Commission. U.S.S.G. § 1B1.10(d) (Nov. 1, 2014).
                                                   -3-
     Case 3:10-cr-05016-H    Document 1566     Filed 07/24/15   PageID.6856      Page 4 of 7



1          below the Guidelines range does §1B1.10 authorize a court proceeding
           under §3582(c)(2) to impose a term “comparably” below the amended
2
           range. §1B1.10(b)(2)(B).
3
4          In Dillon, the Supreme Court required district courts to follow a two-step process
5    in ruling on motions under § 3582(c)(2). The Supreme Court cautioned that
6    “[f]ollowing this two-step approach, a district court proceeding under §3582(c)(2) does
7    not impose a new sentence in the usual sense.” Id. Furthermore, “proceedings under 18
8    U.S.C. § 3582(c)(2) and this policy statement do not constitute a full resentencing of
9    the defendant.” U.S.S.G. § 1B1.10(a)(3). The two-step process provided by Dillon, 130
10   S. Ct. at 2691-92, is as follows:
11
           At step one, §3582(c)(2) requires the court to follow the Commission’s
12
           instructions in § 1B1.10 to determine the prisoner’s eligibility for a
13         sentence modification and the extent of the reduction authorized.
           Specifically, § 1B1.10(b)(1) requires the court to begin by “determin[ing]
14
           the amended guideline range that would have been applicable to the
15         defendant” had the relevant amendment been in effect at the time of the
           initial sentencing. “In making such determination, the court shall
16
           substitute only the amendments listed in subsection (c) for the
17         corresponding guideline provisions that were applied when the defendant
           was sentenced and shall leave all other guideline application decisions
18
           unaffected.”
19
           At step two of the inquiry, §3582(c)(2) instructs a court to consider any
20
           applicable §3553(a) factors and determine whether, in its discretion, the
21         reduction authorized by reference to the policies relevant at step one is
           warranted in whole or in part under the particular circumstances of the
22
           case. Because reference to §3553(a) is appropriate only at the second step
23         of this circumscribed inquiry, it cannot serve to transform the proceedings
           under §3582(c)(2) into plenary resentencing proceedings.
24
25         The district court’s discretion at step two is limited. See Freeman v. United States
26   131 S. Ct. 2685, 2693 (2011) (Noting that “[t]he binding policy statement governing
27   §3582(c)(2) motions places considerable limits on district court discretion”). In
28   Freeman, the Supreme Court further explained that “[i]n an initial sentencing hearing,
                                                -4-
     Case 3:10-cr-05016-H       Document 1566         Filed 07/24/15     PageID.6857        Page 5 of 7



1    a district court can vary below the Guidelines; but, by contrast, below-Guidelines
2    modifications in §3582(c)(2) proceedings are forbidden, USSG §1B1.10(b)(2)(A),
3    except where the original sentence was itself a downward departure [pursuant to]
4    §1B1.10(b)(2)(B).” Freeman at 2693. As a result, this Court is not permitted to engage
5    in a de novo resentencing in a § 3582(c)(2) proceeding and therefore cannot grant the
6    same departures or variances granted at the initial sentencing hearing, unless that
7    departure was granted pursuant to a government’s motion for substantial assistance as
8    defined by the Guidelines.3 And the Ninth Circuit recognized the limitation in
9    § 1B1.10(b)(2)(A). United States v. Davis, 739 F.3d 1222, 1226 (9th Cir. 2014) (Noting
10   that “[a]lthough the Commission crafted § 1B1.10(b), it is Congress that has made
11   policy statements available as a general matter and binding on the courts”).
12          The Defendant characterizes § 5G1.3 as an “adjustment” rather than a
13   “departure.” (Doc. No. 1547 at pg. 6.) U.S.S.G. § 5G1.3(b)(1) and (2) provide that “the
14   court shall adjust the sentence for any period of imprisonment already served on the
15   undischarged term of imprisonment if the court determines that such period of
16   imprisonment will not be credited to the federal sentence by the Bureau of Prisons” and
17   further provide that “the sentence for the instant offense shall be imposed to run
18   concurrently to the remainder of the undischarged term of imprisonment.” The Court
19   agrees that the Guidelines characterize § 5G1.3(b)(1) and (2) for an undischarged term
20   of imprisonment as an “adjustment” rather than a “departure.”
21          But the Defendant did not have an undischarged term of imprisonment at the time
22   of sentencing in this case. A careful review of the record shows that the defendant had
23   already served his state court sentence by the time he was arrested in this case. (See
24
            3
25            The commentary to § 1B1.10 defines “substantial assistance” as a government motion under
     “§5K1.1 (Substantial Assistance to Authorities) (authorizing, upon government motion, a downward
26   departure based on the defendant’s substantial assistance); 18 U.S.C. § 3553(e) (authorizing the court,
     upon government motion, to impose a sentence below a statutory minimum to reflect the defendant’s
27
     substantial assistance); and Fed. R. Crim. P. 35(b) (authorizing the court, upon government motion, to
28   reduce a sentence to reflect the defendant’s substantial assistance).” U.S.S.G. § 1B1.10 cmt. n.3 (Nov.
     1, 2014).
                                                      -5-
     Case 3:10-cr-05016-H    Document 1566      Filed 07/24/15   PageID.6858      Page 6 of 7



1    Plea Agreement, Doc. No. 710 at pg. 9). (“The parties will recommend a 1-level
2    combination of factors departure based, among other things, on the fact that Defendant
3    was sentenced to 1 year in San Diego County (California) Superior Court case number
4    SCD231394 for conduct that took place during the conspiracy in this case and
5    Defendant has already completed that state sentence.”).
6          Since the Defendant’s state court sentence was a discharged term rather than an
7    undischarged term of imprisonment, the appropriate Guideline section is U.S.S.G.
8    § 5K2.23, which provides that:
9
           A downward departure may be appropriate if the defendant (1) has
10
           completed serving a term of imprisonment; and (2) subsection (b) of
11         §5G1.3 (Imposition of a Sentence on a Defendant Subject to Undischarged
           Term of Imprisonment or Anticipated Term of Imprisonment) would have
12
           provided an adjustment had that completed term of imprisonment been
13         undischarged at the time of sentencing for the instant offense. Any such
           departure should be fashioned to achieve a reasonable punishment for the
14
           instant offense.
15
16         The plain language of § 5K2.23 demonstrates that the Court’s decision to take
17   into account the Defendant’s discharged state court term of imprisonment is a departure
18   and not an adjustment. And the Defendant ignores the Court’s other one level § 5K2.0
19   departure under Cook and Koon at sentencing. In light the record, the Court is not
20   authorized to consider these departures in a § 3582(c)(2) proceeding because the Court
21   may only consider, absent a departure arising from a government motion reflecting a
22   defendant’s substantial assistance as defined in § 1B1.10(b)(2)(B) and § 1B1.10 cmt.
23   n.3., the amended Guideline range. See United States v. Pleasant, 704 F.3d. 808, 812
24   (9th Cir. 2013) (Noting that the commentary to § 1B1.10 “was added to resolve a circuit
25   split that had arisen over whether a defendant’s ‘applicable guideline range’ should be
26   derived before or after the application of a departure or variance” and clarifying that the
27   amended Guideline range “is derived pre-departure and pre-variance”).
28         With the legal framework in mind, the Court turns to its application to the
                                                -6-
     Case 3:10-cr-05016-H      Document 1566        Filed 07/24/15     PageID.6859       Page 7 of 7



1    Defendant’s motion to reduce his sentence. In this case, the Court sentenced the
2    Defendant to a custodial term of 87 months after departing downward two levels. The
3    Court granted a one level departure based on the parties’ joint recommendation
4    concerning his completed state court sentence, and an additional one level departure
5    under Cook and Koon combination of factors under § 5K2.0 based on the Court’s
6    assessment of the Defendant’s post-arrest rehabilitation and his participation in the
7    overall conspiracy in relation to the co-defendants. No departures were granted pursuant
8    to a government motion reflecting a defendant’s substantial assistance under § 5K1.1
9    or under Fed. R. Crim. P. 35(b) in this matter. At a total offense level of 27 with a
10   criminal history category of III, under Amendment 782, the amended Guideline range
11   for the term of imprisonment in this case is 87 to 108 months. The Defendant’s original
12   sentence of 87 months is at the minimum of the amended Guideline range. As a result
13   of the limitation in § 1B1.10(b)(2)(A), the Defendant is not entitled to a reduction of his
14   sentence. Additionally, the Court declines to reduce the Defendant’s sentence as a
15   discretionary matter. Accordingly, the Court DENIES the motion to reduce the
16   Defendant’s sentence under 18 U.S.C. § 3582(c)(2).4
17          IT IS SO ORDERED.
18          DATED: July 23, 2015                 ________________________________
                                                 HONORABLE MARILYN L. HUFF
19
                                                 UNITED STATES DISTRICT JUDGE
20
21
22
23
24
25
26
            4
              The Court denies the Defendant’s motion based on the limitation in § 1B1.10(b)(2)(A). The
27
     Sentencing Commission has the authority to amend the limitation to allow the Court to consider other
28   departures (other than a departure based on a government motion reflecting a defendant’s substantial
     assistance) in a § 3582(c)(2) proceeding should the Sentencing Commission elect to do so.
                                                     -7-
